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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    Case No. 1:18-cv-5290
Geigtech East Bay LLC
                                            Plaintiff,

           -against-

Lutron Electronics Co., Inc.                 Defendant.
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                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                     9        I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   Jeffrey I. Kaplan
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                                                                4706
My SDNY Bar Number is:_________________ My State Bar Number is ______________

I am,
           9✔          An attorney
           9           A Government Agency attorney
           9           A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:              FIRM         Sorin RoyerCooper LLC
                              NAME:_______________________________________________
                       FIRM            Two Tower Center Boulevard, East Brunswick, NJ
                              ADDRESS:____________________________________________
                       FIRM   TELEPHONE NUMBER:________________________________
                                                    732-839-0400
                       FIRM                 732-393-1901
                              FAX NUMBER:________________________________________

NEW FIRM:              FIRM         Kaplan Breyer Schwarz, LLP
                              NAME:_______________________________________________
                       FIRM            100 Matawan Rd, Matawan, NJ 07747
                              ADDRESS:____________________________________________
                       FIRM                          732-578-0103
                              TELEPHONE NUMBER:________________________________
                       FIRM                 732-578-0104
                              FAX NUMBER:________________________________________


           9
           ✔           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: 06/13/2018                                          /Jeffrey I. Kaplan/
                                                           ____________________________
                                                           ATTORNEY’S SIGNATURE
